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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-80109-CR-ROSENBERG


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  JOHN O’GRADY,

              Defendant.
  ____________________________

                     UNOPPOSED MOTION TO CONTINUE TRIAL

        Defendant, John O’Grady, through undersigned counsel, requests the Court to

  continue the trial in the above-styled cause for at least thirty (30) days. As grounds

  therefor, Defendant states:

        1. Defendant is charged with falsely representing himself to be a United

           States Marshal.      A trial is currently scheduled during the two-week

           calendar period commencing on July 16, 2018.

        2. Defendant is currently undergoing mental health counseling. Additional

           time is needed to thoroughly investigate all possible defenses, including

           Defendant’s mental health.

        3. Defendant agrees to waive speedy trial from the filing of the above-styled

           motion to the next trial date set by the Court.




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        4. Undersigned counsel has contacted Assistant United States Attorney John

             McMillan who has no objection to the above-styled motion.

        WHEREFORE, it is respectfully requested that the Court continue the trial in

  the above-styled cause for at least thirty (30) days.


                                          Respectfully submitted,

                                          MICHAEL CARUSO
                                          Federal Public Defender

                                          s/ Peter Birch
                                          Peter Birch
                                          Assistant Federal Public Defender
                                          Attorney for the Defendant
                                          Florida Bar No. 304281
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                              CERTIFICATE OF SERVICE


        I HEREBY certify that on July 6, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                         s/ Peter Birch
                                         Peter Birch




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